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                                      UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                                               Plaintiff,

v.                                                              Case No. 21-1215-HLT-KGG

$165,620.00 IN UNITED STATES CURRENCY,
MORE OR LESS


                                               Defendant.


             INITIAL ORDER REGARDING PLANNING AND SCHEDULING

           Fed. R. Civ. P. 1 mandates the Ajust, speedy, and inexpensive@ determination of all

civil cases. With this goal in mind, the undersigned U.S. Magistrate Judge, will conduct a

scheduling conference in this case in accordance with Fed. R. Civ. P. 16 on January 4,

2022, at 10:00 AM. The conference will be conducted by telephone. Counsel will call

1-888-363-4749. Enter access code 5407703 to participate on the conference.

           The parties, in person and/or through counsel, must confer as required by Fed. R.

Civ. P. 26(f) by November 9, 2021. Generally, discussion at this planning conference must

address the nature and basis of the parties= claims and defenses; the possibilities of settling

or resolving the case, including the use of mediation or other methods of alternative dispute

resolution; making or at least arranging for the disclosures required by Fed.R.Civ.P.

26(a)(1); any issues about preserving discoverable information; and development of a

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proposed discovery plan. More specifically, the agenda items that must be addressed

during this conference include those set out in Fed.R.Civ.P. 16(c)(2)(A)-(P), Fed. R. Civ.

P. 26(f)(3)(A)-(F), and the planning report form that is attached to this order and that is

also posted on the court=s website:

                        http://ksd.uscourts.gov/index.php/forms/?open=CivilForms

           By December 7, 2021, plaintiff(s) must submit the completed report of the parties=

planning conference to the chambers of the undersigned magistrate judge, along with

copies of the parties= Rule 26(a) initial disclosures. The report must follow the prescribed

form and must be submitted electronically in .pdf format as an attachment to an e-mail sent

to ksd_gale_chambers@ksd.uscourts.gov. It must not be filed with the Clerk=s Office.

           If you have questions concerning the requirements of this order, please contact the

undersigned judge=s law clerk, Dwight Fischer, at 316-315-4387, or by e-mail at

ksd_gale_chambers@ksd.uscourts.gov.

           IT IS SO ORDERED.

           Dated October 12, 2021, at Wichita, Kansas.


                                                S/ KENNETH G. GALE
                                                U.S. Magistrate Judge




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(Rev. 12/1/15)

                                        UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF KANSAS

_________________________,

                                               Plaintiff(s),

v.
                                                                   Case No. _______

_________________________,

                                               Defendant(s).


                         REPORT OF PARTIES= PLANNING CONFERENCE

     [Completed form should be spaced as shown. Use separate paragraphs or subpara-
                       graphs as necessary if the parties1 disagree.]

       Introductory Note: Fed. R. Civ. P. 1 provides that all Federal Rules of Civil
Procedure should be construed and employed by the court and the parties to secure
the Ajust, speedy, and inexpensive@ determination of civil cases. Careful planning is
essential to efficient case management and discovery proceedings.

      The court strongly encourages the parties to conduct their planning
conferences under Fed. R. Civ. P. 26(f) in person instead of by telephone, to improve
the quality of discussion. In any event, it is unacceptable to simply exchange draft
planning reports by e-mail. The court also strongly encourages Afirst chair@ trial
counsel to be meaningfully involved in this critical planning process.

        As used in this report, the term Aplaintiff@ includes plaintiffs as well as
           1

counterclaimants, cross-claimants, third-party plaintiffs, intervenors, and any other parties
who assert affirmative claims for relief. The term Adefendant@ includes defendants as well
as counterclaim defendants, cross-claim defendants, third-party defendants, and any other
parties who are defending against affirmative claims for relief. However, when the parties
actually complete and submit this report, they should accurately describe their posture in
the case.
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       Before the parties conduct their planning conference and attempt to complete
this required planning-report form, instead of just mechanically filling in the blanks,
the court expects them to review and be prepared to address all the specific agenda
items mentioned in Fed. R. Civ. P. 16(c)(2)(A)-(P) and Fed. R. Civ. P. 26(f)(3)(A)-(F).
The parties should think creatively and, to the extent possible, cooperatively, about
how to structure this case in a way that leads to the efficient resolution of the factual
and legal issues presented.

      This court, like the Kansas Supreme Court, has formally adopted the Kansas
Bar Association=s Pillars of Professionalism (2012) as aspirational goals to guide
lawyers in their pursuit of civility, professionalism, and service to the public. Counsel
are expected to familiarize themselves with the Pillars of Professionalism and conduct
themselves accordingly when litigating cases in this court. The Pillars of
Professionalism are available on this court=s website:

                                    District of Kansas Pillars of Professionalism

       Discovery of electronically stored information (ESI) is unduly expensive if it is
not managed properly. Therefore, counsel must become generally knowledgeable
about their clients= information-management systems before the planning conference.
That is, counsel must be prepared to discuss at the conference how their clients=
information is stored and retrieved, and in turn be prepared to discuss and resolve
the specific issues raised in the ESI guidelines posted on this court=s website:

                                          District of Kansas Guidelines for ESI

1.         Rule 26(f) Conference. Pursuant to Fed. R. Civ. P. 26(f), a discovery and case-
           management conference was held on (date), and was attended by [list appearances].
           The conference was conducted [in person at _____ (place)] [by telephone].

2.         Preliminary Matters.

           a.         The following persons will appear at the upcoming Rule 16 scheduling
                      conference with the magistrate judge:

                      [Insert names of all parties and counsel who will appear at the scheduling
                      conference and, if the conference is scheduled to occur by video conference
                      or telephone, the telephone numbers where parties and/or counsel may be
                      reached at the designated time.]

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           b.         The parties provide the following information regarding themselves and their
                      counsel:

                      [For each attorney, insert: (1) name; (2) business address; (3) home,
                      business, and cellular telephone and facsimile numbers; and (4) e-mail
                      address. For each party, insert: (1) name; (2) home and business addresses;
                      (3) home and business telephone and facsimile numbers; and (4) e-mail
                      address.]

           c.         The parties jointly submit the following case summary:

                      [Insert a brief summary of the case, preferably in a single paragraph and no
                      more than one page, which states: (1) the general nature of the case, e.g.,
                      employment discrimination, personal injury, etc.; (2) the statutes asserted to
                      confer subject matter jurisdiction, e.g., 28 U.S.C. ' 1332; (3) the plaintiff=s
                      legal theories, and (4) the primary defenses pleaded by defendant.]

3.         Plan for Alternative Dispute Resolution (ADR).

           a.         The parties already have engaged in the following good-faith efforts to
                      resolve this matter: [describe efforts].

           b.         Plaintiff will submit a written, good-faith settlement proposal to defendant
                      by (date). Defendant will make a written, good-faith counter-proposal by
                      (date). By (date), unless the parties have jointly filed a notice stating whom
                      they have selected to serve as mediator, along with the firmly scheduled date,
                      time, and place of mediation, each party will submit a confidential settlement
                      report to the assigned magistrate judge.

                      Note: In order to facilitate the ADR process, the court usually will
                      require the parties to complete their exchange of settlement proposals
                      within 30 days after the scheduling conference. But if more time is
                      necessary due to the complexity of this particular case, specific reasons
                      for the request must be provided so the court can make an informed
                      judgment about whether to delay the parties= exchange of settlement
                      proposals.

           c.         The parties have agreed on the following ADR procedure, which will be
                      accomplished by: [insert agreed procedure, e.g., mediation, and a deadline,
                      which usually should be within 90-120 days of the scheduling conference].


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4.         Plan for Pre-Discovery Disclosures. The parties will exchange the information
           required by Fed. R. Civ. P. 26(a)(1) by (date) [no later than 14 days after the
           planning conference]. [Optional: In order to facilitate settlement negotiations and
           to avoid unnecessary expense, the parties have agreed that, without any need for
           formal requests for production, copies of the various documents described in the
           parties= respective Rule 26(a)(1) disclosures will be [exchanged] [made available
           for inspection and copying] by (date).]

                      Note: As indicated in the Initial Order Regarding Planning and
                      Scheduling, copies of the parties= initial disclosures under Rule 26(a)(1)
                      must be attached to the parties= completed Rule 26(f) planning report.
                      These disclosures will be discussed with the magistrate judge during the
                      upcoming scheduling conference in finalizing a discovery and case plan
                      that achieves the objectives of Rule 1.

5.         Plan for Discovery. The parties jointly propose the following discovery plan:

           a.         Discovery is needed on the following specific subjects: [list].

                      Note: The parties should try to reach early stipulations about those
                      matters that are not in dispute, to ensure that discovery, particularly
                      involving ESI, is conducted only on those matters legitimately in dispute.

                      Under recent amendments to Fed. R. Civ. P. 26(b)(1), the parties in this
                      case are entitled to obtain pretrial discovery regarding any
                      nonprivileged matter provided it’s (a) relevant to a party’s claim or
                      defense, AND (b) proportional to the needs of the case. Under Rule
                      26(b)(1), whether any particular discovery request is proportional is to
                      be determined by considering, to the extent they apply, the following six
                      factors: (1) the importance of the issues at stake in the action, (2) the
                      amount in controversy, (3) the parties’ relative access to relevant
                      information, (4) the parties’ resources, (5) the importance of the
                      discovery in resolving the issues, and (6) whether the burden or expense
                      of the proposed discovery outweighs its likely benefit.

           b.         All discovery will be commenced or served in time to be completed by (date).

                      Note: In the court=s experience, discovery usually can be completed in 4-
                      6 months. If more time is necessary due to the complexity of this case,
                      specific reasons for the request must be provided.


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           c.         [If applicable] Discovery on (issue for early discovery) will be completed
                      by (date).

                      Note: The parties should consider whether any issues should be
                      bifurcated, or whether a limited amount of highly focused discovery
                      would enable them to participate in early mediation or present
                      substantive issues on dispositive motions and in turn narrow the scope
                      of remaining discovery.

           d.         One or more of the parties anticipate the following problem(s) in discovery,
                      which should be discussed with the court and, if possible, resolved at the
                      scheduling conference:

                      [List problem(s), the positions and supporting authority of each party, and
                      what efforts have been made to resolve the problems.]

           e.         Disclosure or discovery of electronically stored information (ESI) will be
                      handled as follows:

                      [Provide a brief description of the parties= agreement or separate
                      proposals.]

                      Note: The court requires that the parties directly address the issue of
                      ESI instead of avoiding it. Therefore, it is unacceptable for the parties
                      to vaguely state in their planning report, for example, Athat discovery of
                      ESI will be conducted in accordance with the Fed. R. Civ. P.@ The
                      parties must confer and then decide on a reasonably specific protocol for
                      retrieving and producing ESI. However, the parties may agree, for
                      economic reasons or otherwise in a small case, that no discovery of ESI
                      will be conducted or that any limited ESI that does exist will simply be
                      printed out in hard-copy form.

           f.         With regard to claims of privilege or of protection as trial-preparation
                      material asserted after production, the parties have agreed to an order as
                      follows:

                      [Provide a brief description of the parties= proposal. Also state whether the
                      parties wish their agreement to be reflected in the court=s scheduling order
                      or in a separate proposed protective order that will be submitted to the
                      court.]


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                      Note: The parties should be mindful that Fed. R. Civ. P. 26(b)(5)(B),
                      which generally contemplates such things as Aquick peek@ and
                      Aclawback@ agreements with regard to attorney-client privileged
                      communications and trial-preparation materials, is not limited to ESI.
                      Also, under Fed. R. Evid. 502, an agreement on the effect of a disclosure
                      in a federal proceeding is binding only on the parties to the agreement
                      unless that agreement also is incorporated into a court order; a federal
                      court=s order that a privilege or protection is not waived by disclosure is
                      binding in other federal court and state court proceedings.

           g.         To encourage cooperation, efficiency, and economy in discovery, and also to
                      limit discovery disputes, the following procedures have been agreed to by
                      parties in this case: ____________________________________.

                      Note: The parties are strongly encouraged to consider using the so-called
                      Susman agreements that are posted on the following website:

                                               http://trialbyagreement.com/

           h.         There will be a maximum of ____ interrogatories, including all discrete
                      subparts, served by any party on another party.

           i.         There will be a maximum of ____ depositions taken by plaintiff and ____ by
                      defendant. Each deposition [other than ___________________] will be
                      limited to ___ hours [the depositions of _____________ will be limited to
                      ___ hours].

           j.         [The parties have stipulated that no expert testimony will be used in this
                      case.] [If expert testimony is used in this case, disclosures required by Fed.
                      R. Civ. P. 26(a)(2), including reports from retained experts, will be served
                      by plaintiff by (date), and by defendant by (date); disclosures and reports by
                      any rebuttal experts will be served by (date).]

           k.         The parties [agree] [disagree] that physical or mental examinations pursuant
                      Fed. R. Civ. P. 35 [are] [are not] appropriate in this case. In any event, all
                      Rule 35 examinations will be completed by (date).

                      Note: If the parties disagree about the need for or the scope of such an
                      examination, a formal motion must be filed sufficiently in advance of
                      this deadline in order to allow the motion to be fully briefed by the


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                      parties, the motion to be decided by the court, and for the examination
                      to be conducted, all before the deadline expires.

           l.         Supplementations of disclosures under Fed. R. Civ. P. 26(e) will be served
                      at such times and under such circumstances as required by that rule. In
                      addition, such supplemental disclosures will be served ([optional] dates or
                      intervals), and in any event 40 days before the deadline for completion of all
                      discovery.

                      Note: Based on the investigation and discovery conducted as of that date,
                      the supplemental disclosures served 40 days before the deadline for
                      completion of all discovery must identify all witnesses and exhibits that
                      probably or even might be used at trial.

           m.         The parties [agree] [disagree] that there [is] [is not] a need for discovery in
                      this case to be governed by a protective order. If the parties agree concerning
                      the need for and scope and form of such a protective order, they must confer
                      and then submit a jointly proposed protective order by (date). A jointly
                      proposed protective order must include a concise but sufficiently specific
                      recitation of the particular facts in this case that would provide the court with
                      an adequate basis upon which to make the required finding of good cause
                      pursuant to Fed. R. Civ. P. 26(c). If the parties disagree concerning the need
                      for, and/or the scope or form of a protective order, the party or parties seeking
                      such an order must file an appropriate motion and supporting memorandum
                      by (date).

                      Jointly proposed protective orders should be drafted in compliance with the
                      guidelines available on the court=s website:

                                 http://ksd.circ10.dcn/wp-content/uploads/2018/01/PO-Guidelines-
                                 Form-Rev.-March-2019.docx

                      A pre-approved form of protective order is included with the guidelines at
                      the hyperlink shown above.

                      The parties should discuss whether any departures from this pre-approved
                      form order would be appropriate in this case and also be prepared to explain
                      such proposed modifications during the scheduling conference with the
                      magistrate judge.



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           n.         The parties [do] [do not] consent to electronic service of disclosures and
                      discovery requests and responses. See Fed. R. Civ. P. 5(b) and D. Kan. Rules
                      5.4.2(e) and 26.3.

6.         Deadlines for Amendments and Potentially Dispositive Motions.

           a.         A motion to dismiss [is] [is not] expected to be filed in this case, based on
                      ________ (state the grounds). Provided that such defenses have been timely
                      preserved, any motions to dismiss for lack of personal jurisdiction, venue,
                      insufficiency of process or service of process, failure to state a claim upon
                      which relief can be granted, or the propriety of the parties will be filed by
                      (date).

                      Note: This deadline usually should be set 2-3 weeks after the scheduling
                      conference. But to avoid cases getting bogged down with wasteful
                      motion practice, during the planning conference, counsel should notify
                      the opposing counsel or party of any defects in the pleadings that are
                      plainly obvious and that could be easily cured with an amended
                      pleading.

           b.         Any motion for leave to join additional parties or to otherwise amend the
                      pleadings will be filed by (date).

                      Note: This deadline usually should be set 6-8 weeks after the scheduling
                      conference.

           c.         Other dispositive motions (e.g., summary judgment) [are] [are not] expected
                      to be filed in this case. All such motions will be filed by (date).

                      Note: This deadline usually should be set approximately 2-4 weeks after
                      the pretrial conference. The court will attempt to decide all dispositive
                      motions, to the extent they have been timely filed and briefed without
                      any extensions having been requested, approximately 60 days before
                      trial. But if the case is unusually complex, such that it would be more
                      efficient to have a 90-120 day gap between dispositive-motion rulings
                      and trial, the parties should explain why that would be appropriate here.

           d.         All motions to exclude testimony of expert witnesses pursuant to Fed. R.
                      Evid. 702-705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
                      (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case
                      law, will be filed by (date).

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                      Note: Generally, most judges in the District of Kansas tend to defer
                      setting the Daubert-motion deadline until 30-45 days before trial (unless
                      counsel agree that resolution of the case would be fostered by having
                      such motions filed and decided earlier). If Daubert motions potentially
                      would be dispositive of the entire case or even certain claims in the case
                      (e.g., a challenge to a standard-of-care expert in a medical-negligence
                      case), then this deadline should be the same as the dispositive-motion
                      deadline mentioned above. Counsel should be mindful that some judges
                      in this district use a single deadline for dispositive motions and Daubert
                      motions in all of their cases.

7.         Other Items.

           a.         [The parties agree that principles of comparative fault do not apply to this
                      case.] [By (date), any party asserting comparative fault must identify all
                      persons or entities whose fault is to be compared for purposes of Kan. Stat.
                      Ann. ' 60-258a (or any other similar comparative fault statute that might be
                      applicable). If another person or entity is so identified, then the party
                      asserting comparative fault also must specify the nature of the fault which is
                      claimed.]

                      Note: This deadline, if applicable, usually should be set approximately 2
                      weeks before the deadline for filings motions to amend the pleadings.

           b.         The parties [request] [do not request] a status conference before the pretrial
                      conference, in order to discuss the following subjects: [list]. [The parties
                      request a status conference in (month and year).]

           c.         The parties request that the court hold a pretrial conference in (month and
                      year).

                      Note: The court generally schedules a pretrial conference approximately
                      2-3 weeks after the close of discovery and approximately 2-4 weeks
                      before the dispositive-motion deadline. If the case remains at issue after
                      all timely filed dispositive motions have been filed and decided (or if the
                      parties announce that no dispositive motions will be filed), then the trial
                      judge usually will conduct another pretrial conference within 30 days of
                      trial.

           d.         Trial is expected to take approximately ___ trial days.


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           e.         The parties [are] [are not] prepared to consent to trial by a U.S. Magistrate
                      Judge [at this time,] [or as a backup if the assigned U.S. District Judge
                      determines that his or her schedule is unable to accommodate the scheduled
                      trial date].

                      Note: Magistrate judges may preside over jury trials. Withholding
                      consent will not have any adverse substantive consequences, but may
                      delay the trial of the case.

Date:        [Insert Date]

[Here, add signatures of each unrepresented party and an attorney for each represented
party. These signatures must be affixed according to the procedures governing multiple
signatures set forth in paragraph II(C) of the Administrative Procedures for Filing, Signing,
and Verifying Pleadings and Papers by Electronic Means in Civil Cases. The report must
be submitted electronically in .pdf format as an attachment to an e-mail sent to the e-mail
address of the assigned magistrate judge listed in paragraph II(E)(2)(c) of the
administrative procedures guide.]




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